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1                         IN THE UNITED STATES BANKRUPTCY COURT

2                             FOR THE DISTRICT OF DELAWARE

3
      In Re:                                    Case No. 23-11069-CTG
4
      Yellow Corporation, et al.,               Chapter 11 Proceedings
5
               Debtors.                         (Jointly Administered)
6
                                                Hearing Date: September 15, 2023
                                                Hearing Time: 11:30 a.m. (ET)
7
                                                [Relates to Docket No. 16]
8

9    MARICOPA COUNTY TREASURER’S OBJECTION TO MOTION OF DEBTORS FOR
     ENTRY OF INTERIM AND FINAL ORDERS (I) AUTHORIZING THE DEBTORS TO (A)
10    OBTAIN POSTPETITION FINANCING AND (B) UTILIZE CASH COLLATERAL, (II)
      GRANTING LIENS AND SUPERPRIORITY ADMINISTRATIVE EXPENSE CLAIMS,
11    (III) MODIFYING THE AUTOMATIC STAY , (IV) AUTHORIZING THE DEBTORS TO
       USE UST CASH COLLATERAL, (V) GRANTING ADEQUATE PROTECTION, (VI)
12         SCHEDULING A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

13          Maricopa County Treasurer (“MCT”), a secured tax lien creditor, by and through

14   its undersigned counsel, hereby objects to the Motion of Debtors for Entry of Interim and

15   Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition Financing and (B)

16   Utilize Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense

17   Claims, (III) Modifying the Automatic Stay , (IV) Authorizing the Debtors to Use UST Cash

18   Collateral, (V) Granting Adequate Protection, (VI) Scheduling a Final Hearing, and (VII)

19   Granting Related Relief (DE 16) (the “Motion”). MCT objects to the Motion to the extent

20   that it seeks to prime any secured real or personal property tax liens of Maricopa County

21   and requests adequate protection of its tax liens.

22                                        MCT’s Claims

23          On August 28, 2023, MCT filed a secured Proof of Claim (the “MCT RPTX Claim”)

24   in the amount of $56,095.82 representing the 2023 real property taxes on parcel 105-45-
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1    001N. Interest accrues, or will accrue, at the statutory rate of 16% per year simple, if not

2    timely paid, until the taxes and interest are paid in full. See 11 U.S.C. § 511 and A.R.S.

3    § 42-18053.

4           On August 28, 2023, MCT filed a secured Proof of Claim (the “MCT PPTX Claim”)

5    in the amount of $219.85 representing 2007 personal property taxes on parcel 900-77-

6    249. Interest accrues at the statutory rate of 16% per year simple until the taxes and

7    interest are paid in full. See 11 U.S.C. § 511 and A.R.S. § 42-18053.

8                                            Objections

9           MCT objects to the Motion to the extent that it seeks to prime MCT’s tax liens on

10   Debtors’ real and personal property located in Maricopa County, Arizona. Arizona law

11   provides the following.

12          a. The personal property tax liens attached on January 1 of the respective tax

13             year and the taxes are not discharged until the taxes and interest are paid in

14             full or title to the property vests in a purchaser of the property for taxes. A.R.S.

15             §§ 42-17153 and 42-19106. Accordingly, the liens for real and personal

16             property taxes encumbering the property cannot be removed until the property

17             taxes and interest are paid in full.

18          b. The tax liens are “prior and superior to any other liens of every kind and

19             description regardless of when another lien attached.” A.R.S. §§ 42-19106 and

20             42-17153.

21          c. “A tax that is levied against personal property…is a personal liability of the

22             property owner, in addition to being a lien against the property.” A.R.S. § 42-

23             17153(B).

24          d. “The tax on personal property is a debt against the owner to whom the property
                                                      2
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1               is assessed and against the owner’s successors and assigns.” A.R.S. §

2               19117(A).

3            e. Interest accrues at the statutory rate of 16% per annum until the taxes are paid

4               in full. 11 U.S.C. § 511 and A.R.S. § 42-18053.

5            f. The entries made in the county treasurer’s tax records are prima facie evidence

6               of the facts stated in them. A.R.S. § 42-11007.

7            WHEREFORE, MCT objects to the Motion and Interim Order to the extent they

8    seek to prime any MCT tax liens and MCT requests adequate protection by having the

9    tax liens remain attached to the real and personal property with the same validity and

10   priority as the tax liens had on the Petition Date until the taxes and interest are paid in

11   full.

12           RESPECTFULLY SUBMITTED this 28th day of August, 2023.

13
                                               RACHEL H. MITCHELL
14                                             MARICOPA COUNTY ATTORNEY

15                                             BY: /s/ Peter Muthig
                                                   PETER MUTHIG
16                                                 Deputy County Attorney
                                                   Attorney for Maricopa County Treasurer
17

18   ORIGINAL of the foregoing E-FILED
     this 28th day of August, 2023, with:
19
     Clerk, United States Bankruptcy Court
20   District of Delaware
     824 Market Street, 3rd Floor
21   Wilmington, DE 19801

22   ...

23   ...

24   ...
                                                   3
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1    COPY of the foregoing mailed or e-mailed,
     this 28th day of August, 2023, to:
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                                                 4
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     /s/ Marcy Delgado
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